               Case 3:17-cv-05109-JD Document 32 Filed 05/24/18 Page 1 of 4



     Katherine E. Carlton Robinson, Esq. (IN #31694-49)
 1     (admitted Pro Hac Vice)
     Erik J. Jones, Esq. (IN #34657-53)
 2     (admitted Pro Hac Vice)
     Schuckit & Associates, P.C.
 3   4545 Northwestern Drive
     Zionsville, IN 46077
 4   Telephone: 317-363-2400
     Fax: 317-363-2257
 5   E-Mail: krobinson@schuckitlaw.com
              ejones@schuckitlaw.com
 6
     Lead Counsel for Defendant Trans Union, LLC
 7   (improperly identified as TransUnion Corp.)
 8
     David Streza, Esq. (CSB #209353)
 9   Vogl Meredith Burke LLP
     456 Montgomery Street, 20th Floor
10   San Francisco, CA 94104
     Telephone: 415-398-0200
11   Fax: 415-398-2820
     E-Mail: dstreza@vmbllp.com
12
     Local Counsel for Defendant Trans Union, LLC
13
     (improperly identified as TransUnion Corp.)
14
15
                                UNITED STATES DISTRICT COURT
16
                             NORTHERN DISTRICT OF CALIFORNIA
17
                              SAN FRANCISCO DIVISION
18                                           ) CASE NO. 3:17-cv-05109-JD
      RYAN CHAMBERS,                         )
19                Plaintiff,                 )
                                             ) STIPULATION AND
20           vs.                             ) [PROPOSED] ORDER OF
                                             ) DISMISSAL WITH PREJUDICE
21    TRANSUNION CORP. and DOES 1 THROUGH    ) BETWEEN PLAINTIFF AND
      10, INCLUSIVE;                         ) DEFENDANT TRANS UNION,
22                Defendants.                ) LLC ONLY
                                             )
23
24
            Plaintiff Ryan Chambers, by counsel, and Defendant Trans Union, LLC, improperly
25
     identified as TransUnion Corp. (“Trans Union”), by counsel, hereby stipulate and agree that all
26
     matters herein between them have been compromised and settled, and that Plaintiff’s cause
27
28

     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
     DEFENDANT TRANS UNION, LLC ONLY – 3:17-CV-05109-JD

                                                Page 1 of 3
                Case 3:17-cv-05109-JD Document 32 Filed 05/24/18 Page 2 of 4




     against Trans Union only should be dismissed, with prejudice, with each party to bear its own
 1
 2   costs and attorneys’ fees.

 3
                                                         Respectfully submitted,
 4
 5
 6   Date: 5/24/2018                                     s/
                                                         Todd M. Friedman, Esq.
 7                                                       Adrian R. Bacon, Esq.
                                                         Law Offices of Todd M. Friedman, P.C.
 8                                                       21550 Oxnard Street, Suite 780
                                                         Woodland Hills, CA 91367
 9                                                       Telephone: (877) 206-4741
                                                         Fax: (866) 633-0228
10                                                       E-Mail: tfriedman@toddflaw.com
                                                                 abacon@toddflaw.com
11
                                                         Counsel for Plaintiff Ryan Chambers
12
13
     Date: 5/24/2018                                     s/ Erik J. Jones
14                                                       Katherine E. Carlton Robinson, Esq.
                                                           (IN #31694-49)
15                                                         (admitted Pro Hac Vice)
                                                         Erik J. Jones, Esq. (IN #34657-53)
16                                                         (admitted Pro Hac Vice)
                                                         Schuckit & Associates, P.C.
17                                                       4545 Northwestern Drive
                                                         Zionsville, IN 46077
18                                                       Telephone: 317-363-2400
                                                         Fax: 317-363-2257
19                                                       E-Mail: krobinson@schuckitlaw.com
                                                                  ejones@schuckitlaw.com
20
                                                         Lead Counsel for Defendant Trans Union,
21                                                       LLC (improperly identified as TransUnion
                                                         Corp.)
22
23                                                       David Streza, Esq. (CSB #209353)
                                                         Vogl Meredith Burke LLP
24                                                       456 Montgomery Street, 20th Floor
                                                         San Francisco, CA 94104
25                                                       Telephone: 415-398-0200
                                                         Fax: 415-398-2820
26                                                       E-Mail: dstreza@vmbllp.com
27                                                       Local Counsel for Defendant Trans Union,
                                                         LLC (improperly identified as TransUnion
28                                                       Corp.)

     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
     DEFENDANT TRANS UNION, LLC ONLY – 3:17-CV-05109-JD

                                               Page 2 of 3
               Case 3:17-cv-05109-JD Document 32 Filed 05/24/18 Page 3 of 4




 1                                     [PROPOSED ORDER]
 2          PURSUANT TO STIPULATION, IT IS SO ORDERED that all claims of Plaintiff Ryan
 3   Chambers against Defendant Trans Union, LLC are dismissed, with prejudice. Plaintiff Ryan
 4   Chambers and Defendant Trans Union, LLC shall each bear their own costs and attorneys’ fees.
 5
 6
     Date: ________________________                      ____________________________________
 7                                                       JUDGE, United States District Court,
                                                         Eastern District of California
 8
 9
10
11   DISTRIBUTION TO:

12     Todd M. Friedman, Esq.                          Adrian R. Bacon, Esq.
       tfriedman@toddflaw.com                          abacon@toddflaw.com
13     David J. Streza, Esq.                           Katherine E. Carlton Robinson, Esq.
14     dstreza@vmbllp.com                              krobinson@schuckitlaw.com
       Erik J. Jones, Esq.
15     ejones@schuckitlaw.com
16
17
18
19
20
21
22
23
24
25
26
27
28

     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
     DEFENDANT TRANS UNION, LLC ONLY – 3:17-CV-05109-JD

                                               Page 3 of 3
           Case 3:17-cv-05109-JD Document 32 Filed 05/24/18 Page 4 of 4



                                      CERTIFICATE OF SERVICE

Filed electronically on May 24, 2018, with:

United States District Court CM/ECF system

Notification sent electronically on May 24, 2018, to:

To the Honorable Court, all parties and their Counsel of Record


s/ Todd M. Friedman
Todd M. Friedman
